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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH]

                                      Debtors. 1                        (Jointly Administered)


    SECOND AMENDED2 NOTICE OF AGENDA FOR HEARING ON JANUARY 24, 2024
      AT 10:00 A.M. (PREVAILING EASTERN TIME3) BEFORE THE HONORABLE
    THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                                  DELAWARE

 This hearing will be conducted before the Honorable Thomas M. Horan, in the United States
Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor, Courtroom No. 5,
          Wilmington, Delaware 19801. All parties are expected to attend in person.
     Participants wishing to appear electronically must register at the link below no later than
                     January 23, 2024 at 4:00 p.m. (prevailing Eastern Time).
                     https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl

RESOLVED MATTERS

     1. Debtors’ Third Motion for Entry of an Order (I) Authorizing Abandonment of Property
        and (II) Granting Related Relief [Filed January 10, 2024, Docket No 1117].

          Response Deadline: January 17, 2024 at 4:00 p.m. [ET].

          Responses Received: None.

          Related Documents:

                    a.          Certificate of No Objection Regarding Debtors’ Motion for Entry of an
                                Order (I) Authorizing Abandonment of Property and (II) Granting Related
                                Relief [Filed January 19, 2024, Docket No. 1163].

                    b.          [SIGNED] Order (I) Authorizing Abandonment of Property and (II)
                                Granting Related Relief [Filed January 22, 2024, Docket No. 1183].


1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
2
     Amended items are located under “Additional Documents.”
3
     All motions and other pleadings referenced herein are available online at the following web address:
     https://cases.stretto.com/Amyris.


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    Status: This matter has been resolved.

MATTERS HELD IN ABEYANCE PENDING CONFIRMATION

    2. Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner Pursuant to
       11 U.S.C. § 1104(C) [Filed November 11, 2023, Docket No. 651].

        Response Deadline: December 22, 2023 at 4:00 p.m. [ET]. The response deadline was
        been extended to December 6, 2023.

        Responses Received:

                 a.          Debtors’ Objection to the Motion of Ad Hoc Cross-Holder Group for
                             Appointment of Examiner Pursuant to 11 U.S.C. 1104(C) [Filed December
                             6, 2023, Docket No. 827].

                 b.          Joinder of the Ad Hoc Noteholder Group to Debtors’ Objection to the
                             Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner
                             Pursuant to 11 U.S.C. 1104(C) [Filed December 6, 2023, Docket No. 833].

                 c.          Objection of the Official Committee of Unsecured Creditors to the Motion
                             of Ad Hoc Cross-Holder Group for Appointment of Examiner Pursuant to
                             11 U.S.C. § 1104(C) and Joinder to the Debtors’ Objection to the Motion
                             of the Ad Hoc Cross-Holder Group for Appointment of Examiner Pursuant
                             to 11 U.S.C. § 1104(C) [Filed December 6, 2023, Docket No. 838].

        Related Documents:

                 a.          Amended Notice of Motion of Ad Hoc Cross-Holder Group for
                             Appointment of Examiner Pursuant to 11 U.S.C. § 1104(C) [Filed
                             November 1, 2023, Docket No. 657].

                 b.          Declaration of Steven W. Golden in Support of Debtors’ Objection to the
                             Motion of Ad Hoc Cross-Holder Group for Appointment of Examiner
                             Pursuant to 11 U.S.C. 1104(C) [Filed December 6, 2023, Docket No. 829].

        Status: The matter is not going forward at this time.

    3. [SEALED] Debtors’ Objection to Claim Nos. 663 and 666 Filed by Lavvan, Inc. [Filed
       December 7, 2023, Docket No. 839].

        Response Deadline: November 10, 2023 at 4:00 p.m. [ET]. The response deadline was
        extended to December 22, 2023 pursuant to the Scheduling Order.

        Responses Received:

                 a.          [SEALED] Response of Lavvan, Inc. to the Debtors’ Claim Objection
                             [Filed December 27, 2023, Docket No. 1012].

        Replies:

                 a.          Debtors’ Reply in Support of Objection to Claim Nos. 663 and 666 [Filed
                             January 5, 2024, Docket No. 1098].

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        Related Documents:

                 a.          [SIGNED] Order Establishing Schedule and Protocols in Connection with
                             (1) Debtors’ Objection to Claim Nos. 663 and 666 Filed by Lavvan, Inc.
                             and (2) Motion to Estimate Lavvan Intellectual Property Claim [Filed
                             December 14, 2023, Docket No. 907] (the “Scheduling Order”).

        Status: The matter is not going forward at this time.

    4. [SEALED] Motion to Estimate Lavvan Intellectual Property Claim [Filed on December 6,
       2023, Docket No. 840].

        Response Deadline: November 10, 2023 at 4:00 p.m. [ET]. The response deadline was
        extended to December 22, 2023 pursuant to the Scheduling Order.

        Responses Received:
                 a.          [SEALED] Lavvan, Inc.’s Preliminary Response to Debtors’ Motion to
                             Estimate Lavvan Intellectual Property Claims [Filed December 27, 2023,
                             Docket No. 1013].

        Replies:

                 a.          Debtors’ Reply in Support of Motion to Estimate Lavvan Intellectual
                             Property Claims Preliminary Statement [Filed January 5, 2024, Docket No.
                             1097].

        Related Documents:

                 a.          [SIGNED] Order Establishing Schedule and Protocols in Connection with
                             (1) Debtors’ Objection to Claim Nos. 663 and 666 Filed by Lavvan, Inc.
                             and (2) Motion to Estimate Lavvan Intellectual Property Claim [Filed
                             December 14, 2023, Docket No. 907] (the “Scheduling Order”).

        Status: The matter is not going forward at this time.

    5. Motion to Allow Lavvan, Inc. Pursuant to Bankruptcy Rule 3018(a) for Estimation and
       Temporary Allowance of Claims for Purposes of Voting to Accept or Reject the Plan [Filed
       January 5, 2024, Docket No. 1095].

        Response Deadline: January 12, 2024 at 4:00 p.m. prevailing Eastern Time. The
        Objection deadline was extended to January 17, 2024 at 4:00 p.m. prevailing Eastern Time.

        Responses Received: None.

        Related Documents:

                 a.          Re-Notice of Motion and Hearing Regarding Lavvan, Inc’s Motion
                             Pursuant to Bankruptcy Rule 3018(a) for Estimation and Temporary
                             Allowance of Claims for Purposes of Voting to Accept or Reject the Plan
                             [Filed January 8, 2024, Docket No. 1103].
        Status: The matter is not going forward at this time.

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        PLAN CONFIRMATION

    6. Third Amended Joint Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors
       [Filed January 22, 2024, Docket No. 1170].

        Response Deadline: January 18, 2024 at 4:00 p.m. prevailing Eastern Time. The
        Objection deadline was extended for the following parties: January 19, 2024 at 5:00 p.m.
        ET for John Melo, Lexon Insurance Company and The Broad Institute; January 20, 2024
        at 5:00 p.m. ET for DSM-Firmenich; and January 21, 2024 at 5:00 p.m. ET for Givaudan.

        Responses Received:

                 a.          Informal comments from the Texas Comptroller.

                 b.          Limited Objection of the U.S. Securities and Exchange Commission to
                             Confirmation of the Debtors’ Second Amended Joint Plan of
                             Reorganization [Filed January 17, 2024, Docket No. 1150].
                 c.          Objection of Andrew E. Roth, an Amyris Shareholder, to Confirmation of
                             the Debtors’ Second Amended Joint Plan of Reorganization [Filed January
                             18, 2024, Docket No. 1152].

                 d.          Objection of the United States Trustee to Confirmation of the Second
                             Amended Joint Chapter 11 Plan of Reorganization [Filed January 18, 2024,
                             Docket No. 1154].

                 e.          Response and Reservation of Rights of Disruptional Ltd. and Vest Beauty
                             Labs LP Regarding Debtors’ Second Amended Joint Chapter 11 Plan of
                             Reorganization [Filed January 18, 2024, Docket No. 1155].

                 f.          Objection of 10-11 Clerkenwell Green Limited to Confirmation of Second
                             Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors, as Modified [Filed January 18, 2024, Docket No. 1156].

                 g.          Objection and Reservation of Rights of Lexon Insurance Company to the
                             Debtors’ Second Amended Joint Chapter 11 Plan of Reorganization of
                             Amyris, Inc. and Its Affiliated Debtors, as Modified [Filed January 18,
                             2024, Docket No. 1157].
                 h.          Preliminary Limited Objection of John Melo to Confirmation of Second
                             Amended Joint Chapter 11 Plan of Reorganization, Reservation of Rights,
                             and Joinder [Filed January 18, 2024, Docket No. 1158].

                 i.          Givaudan SA’s Objection to the Second Amended Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors, As Modified
                             [Filed January 21, 2024, Docket No. 1168].

        Briefs in Support of Confirmation, Replies to Confirmation
        Objections and Declarations filed in Support of Confirmation:

                 a.          Declaration of Han Kieftenbeld in Support of Confirmation of Third
                             Amended Joint Chapter 11 plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed January
                             22, 2024, Docket No. 1174].

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                 b.          Brief of Euagore, LLC and the Foris Prepetition Secured Lenders in Support
                             of Confirmation of Plan of Reorganization of Amyris, Inc. and its Affiliated
                             Debtors Under Chapter 11 of the Bankruptcy Code [Filed January 22, 2024,
                             Docket No. 1175].

                 c.          Declaration of Philip J. Gund in Support of Confirmation of Third Amended
                             Joint Chapter 11 plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtors Under Chapter 11 of the Bankruptcy Code [Filed January 22, 2024,
                             Docket No. 1176].

                 d.          Declaration of Bradley M. Orelowitz in Support of Confirmation of Third
                             Amended Joint Chapter 11 plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed January
                             22, 2024, Docket No. 1177].

                 e.          Declaration of Frank Merola in Support of the Debtors’ Third Amended
                             Joint Chapter 11 Plan of Reorganization [Filed January 22, 2024, Docket
                             No. 1178].

                 f.          [Certification of Ballots] Voting Tabulation Affidavit of Jamilla Dennis of
                             Stretto Regarding the Second Amended Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors, As Modified
                             [Filed January 22, 2024, Docket No. 1179].

                 g.          Declaration of Oksana Wright in Support of Confirmation of Third
                             Amended Joint Chapter 11 plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed January
                             22, 2024, Docket No. 1180

                 h.          Declaration of Steven J. Fleming in Support of Confirmation of Third
                             Amended Joint Chapter 11 plan of Reorganization of Amyris, Inc. and Its
                             Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed January
                             22, 2024, Docket No. 1181].

                 i.          Debtors’ Memorandum of Law in Support of Confirmation of Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors under Chapter 11
                             of the Bankruptcy Code [Filed January 22, 2024, Docket No. 1182].
                 j.          [Debtors’] Omnibus Reply in Support Confirmation of Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors under Chapter 11
                             of the Bankruptcy Code [Filed January 22, 2024, Docket No. 1187].

                 k.          The Official Committee of Unsecured Creditors’ Statement in Support of
                             the Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization [Filed
                             January 22, 2024, Docket No. 1189].

                 l.          Declaration of Elizabeth Hu in Support of The Official Committee of
                             Unsecured Creditors’ Statement in Support of the Debtors’ Third Amended
                             Joint Chapter 11 Plan of Reorganization [Filed January 22, 2024, Docket
                             No. 1190].




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        Witness and Exhibit Lists:

                 a.          Debtors’ Witness and Exhibit List For Hearing on January 24, 2024 At
                             10:00 A.M. ET [Filed January 22, 2024, Docket No. 1186].

                 b.          Ad Hoc Noteholder Group’s Witness and Exhibit List for Hearing on
                             January 24, 2024 at 10:00 a.m. ET [Filed January 22, 2024, Docket No.
                             1191].

                 c.          The Official Committee of Unsecured Creditors’ Witness and Exhibit List
                             For Hearing on January 24, 2024 At 10:00 A.M. Prevailing Eastern Time
                             [Filed January 22, 2024, Docket No. 1192].

        Related Documents:

                 a.          Joint Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as
                             Modified [Filed October 12, 2023, Docket No. 523].
                 b.          Notice of Filing of Clean and Blackline Versions of: (A) First Amended
                             Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtors; and (B) First Amended Disclosure Statement With Respect to Joint
                             Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtors [Filed December 1, 2023, Docket No. 809].

                 c.          Notice of Filing of Clean and Blackline Versions of: (A) Second Amended
                             Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtors; and (B) Second Amended Disclosure Statement With Respect to
                             Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtors [Filed December 6, 2023, Docket No. 826].

                 d.          [SIGNED] Order (I) Approving the Disclosure Statement; (II) Scheduling
                             Confirmation Hearing; (III) Approving Form and Manner of Notice of
                             Confirmation Hearing; (IV) Establishing Procedures for Solicitation and
                             Tabulation of Votes to Accept or Reject Plan, Including (A) Approving
                             Form and Content of Solicitation Materials; (B) Establishing Record Date
                             and Approving Procedures for Distribution of Solicitation Materials; (C)
                             Approving Forms of Ballots; (D) Establishing Voting Deadline for Receipt
                             of Ballots and (E) Approving Procedures for Vote Tabulations; (V)
                             Approving Form and Manner of Notice of Plan Releases; (VI) Establishing
                             Deadline and Procedures for Filing Objections to Confirmation of Plan; and
                             (VII) Granting Related Relief [Filed December 13, 2023, Docket No. 897].

                 e.          Notice of Confirmation Hearing /Notice of (A) Hearing to Consider
                             Confirmation of Debtors’ Chapter 11 Plan; (B) Deadline for Voting to
                             Accept or Reject Plan; (C) Debtors’ Releases and Third-Party Release; (D)
                             Deadlines Regarding Third-Party Release Opt Out Election; and (E)
                             Related Matters [Filed December 18, 2024, Docket No. 946].

                 f.          Plan Supplement for the Second Amended Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified
                             [Filed January 9, 2024, Docket No. 1112].




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                 g.          Notice of Filing Redline to Third Amended Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors [Filed January 22,
                             2024, Docket No. 1172].

                 h.          Notice of Filing Proposed Confirmation Order [Filed January 22, 2024,
                             Docket No. 1173].

                 i.          Notice of Filing First Amended Plan Supplement for the Second Amended
                             Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtors, as Modified [Filed January 22, 2024, Docket No. 1193].

        ADDITIONAL DOCUMENTS:

                 a.          Supplemental Declaration of Glenn F. Ostrager in Support of the Objection
                             of Andrew E. Roth, an Amyris Shareholder, to Confirmation of The
                             Debtors’ Second Amended Joint Plan of Reorganization [Filed January 23,
                             2024, Docket No. 1197].
                 b.          Andrew E. Roth’s Witness and Exhibit List for the Hearing on January 24,
                             2024 at 10:00 A.M. ET [Filed January 23, 2024, Docket No. 1198].

                 c.          [Certification of Ballots] Voting Tabulation Affidavit of Jamilla Dennis of
                             Stretto Regarding the Second Amended Joint Chapter 11 Plan of
                             Reorganization of Amyris, Inc. and Its Affiliated Debtors, As Modified
                             [Filed January 23, 2024, Docket No. 1199].

                 d.          Third Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc.
                             And Its Affiliated Debtors, As Modified [Filed January 23, 2024, Docket
                             No. 1200].

                 e.          Debtors’ Amended Witness and Exhibit List for Hearing on January 24,
                             2024 at 10:00 A.M. ET [Filed January 23, 2024, Docket No. 1201].

                 f.          Notice of Filing Redline to Modified Third Amended Plan of
                             Reorganization of Amyris, Inc. and its Affiliated Debtors [Filed January 23,
                             2024, Docket No. 1202].

                 g.          Notice of Filing of Revised Confirmation Order [Filed January 23, 2024,
                             Docket No. 1203].

                 h.          Supplemental Declaration of Philip J. Gund in Support of Confirmation of
                             Third Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc.
                             and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed
                             January 23, 2024, Docket No. 1204].

                 i.          Notice of Filing Second Amended Plan Supplement for the Third Amended
                             Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its Affiliated
                             Debtor [Filed January 23, 2024, Docket No. 1205].

        Status: The matter will go forward for confirmation of the Plan.




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 Dated: January 24, 2024                  PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ James E. O’Neill
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                                          Debra I. Grassgreen (admitted pro hac vice)
                                          James E. O’Neill (DE Bar No. 4042]
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